08-11153-scc         Doc 146     Filed 05/28/08 Entered 05/28/08 10:29:17           Main Document
                                              Pg 1 of 1




   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   ---------------------------------------------------------x
   In Re
                                                            :       Chapter 11

                                     :
   LEXINGTON PRECISION CORP., ET AL, :                              Case No. 08-11153 (MG)

                                                            :       Debtors.
                                                            :
                              Debtors.                      :       (Jointly Administered)
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                   ORDER OF ADMISSION TO PRACTICE PRO HAC VICE

               John C. Tishler, having represented that he is a member in good standing of the

   bar of the state of Tennessee, and the firm of Carter, Ledyard & Milburn LLP having

   moved his admission, pro hac vice, to represent Capital Source Finance LLC in the

   above-referenced case, it is therefore

               ORDERED, that John C. Tishler is admitted to practice pro hac vice in this case,

   subject to payment of the filing fee.




   Dated: New York, New York
          May 28, 2008


                                                       _________/s/Martin Glenn______________
                                                        UNITED STATES BANKRUTPCY JUDGE




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